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                    EXHIBIT A
         Expert Opinion of Anthony Bouza
     Case:
1407J21:     1:03-cv-02463
                500-407-321 J r AXDocument #: 495-2
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                                               Cove Pro.incelown, MA   Page    2 p.m.
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                                                                                      09-21-200G     1 /11




                                          UND STATES DISTRCT COURT
                                 !l'ÜR THE NORTHERN DISTRICT Ol' ILLiOIS
                                            EASTERN DMSION

        KEVI VODAK et al., )
        individually and on behalf of others)
        similarly situated, )
                  Plaintifs, )                                         )           No. 03, C 2463



                  vs. )                                                )

                                                                       )
                                                                                   Judge Virginia KENDALL

                                                                                   Magistrate Judge Nan NOLAN
        CIT OF CHICAGO, et aI., )

                  nertmihlnL~. ))                                                  .Tury n~nUln"

                            EXPERT OPINION OF ANHONY V. BOUZA

       Qualifications, including any Publications

                  T, Arithoriy V. BoW'.. am qüalified as an expert iii the field orlaw
       enforcement and crowd control based on my over 50 years of experence. beginning
       as a patol ofticer with the New York City Police Deparent in 1953. I rose
       though the rans and was in command of all police forces in the Bronx from 1973
       though 1976. In 1976, I was appointed Deputy Chief of
                                                                 the New York Transit
       Police Deparent. In 1980, I became Chief ofPoliee in the City of Mineapolis,
       Minnesota a position I held for almost iÚle years until I retired. I liave taught
       coUege courses in the field as a professor of crial
                                                           justice at John Jay College of
       Criminnl Justice in New York City os well os Homline University in Minnesota. I
       have guest lectued at many unverities and colleges and authored scores of aricles
       on police mangement, legal, policy and related issues in a wide variety of national
       publications. I ht:ve ë11Jl.hored dL;hi. hooks on lopii;s nl1aw en rorcem
                                                                                                    en   I., police
       adinistrtion and crial justice. For additional infonnation. see curiculum vitae
       atchcd hereto.




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                                                                                                            EXHIBIT


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                 Compensation to be Paid

                      I, Anthony Bouza, bil at a rate of $200 per hour for all work including the
                review of doc.uments in preparation for testiony, depositions and ('.Dun/tral
                i~~ií ri On y. .
                Statemcnt of all Opinions to be Exprcsscd and Basis and Reasons Therefor

                          In the case ofVodak et al. v. City of
                                                                                     Chicago, et al. concerng the police
                acons on the evenig of
                                                         March 20, 2003, i, Anthony V. Bouza, hold the following
                OIJiriiüns to a feasOliable degree of professional ceitainty:

                          l) The actions of Detendant Chicago police officials in surounding the
               crowd by establishing police lines to the east and west of
                                                                                                 the crowd at Chicago
               Avenue between Mic.higan Avenue and Mies Van Der Rohe Way was uneasonable
               and violate.d clt'..rly p.t.ahlisherl stanrlardi; of law enforcement conduct

                                    a) A crowd of  demonstrators attempting to mach in thc streets is
                                    exercising First Amendment rights and Chicago police offcial
                                    appropriately handled the challenges until the crowd reached the
                                   detainent area on Chicago Avenue at Michigan


                                  b) Chicago police possessed no reasonable basis to suround, contain
                                  or dctain the crowd.

                                   c) Leaving individual members of the crowd with no route of exit
                                  created a siruation likely iO cause panc.

                        It is clear from testimony of the Plaintiffs and witnesses at the class
               cefication hearíng, the videos tacn by witncsses mid the Chicago Police
           Deparent, the affidavits submitted by 250 people trapped in the crowd at Chicago
           Avenue, as well as the assertions in the police supplementar report, admissions
           made by the City, and members of
                                                                      the chain of    Chicago Police co.mm.and on. March.
           20, 2003 (Superintendent Cline, Deput Chief
                                                                                      Risley, Commander Griff and
           Commander Williams) that the Chicago Police Dcparent establishcd police lines
           to the west and east of the crowd which prevented people from leaving the area.




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                    Reviewing the relevant materials and videos. I have not been able to identify
           any basis to suround the crowd and penning the crowd in created a serious dager
           to the public safety and freedom.

                 2) Defendant Chicago police offcials had no reasonable suspicion or
           probable cause to detain all individuals with the crowd.

                           a) No reasonable police offcial could believe that a person=s mere
                           presence on the street would jusify his or her arest without first
                           issuing a warng or providing an opportty to leave.

                           b) No reasonable police offcial could believe the lack of permit
                          justified arrests of everyone in crowd without fist issuing a warning or
                           providing an opportity to leave.

                           c) The actions of the Chicago police offcials in failing to charge
                           and/or prosecute all those seized on Chicago Avenue support the
                           conclusion that no reasonable suspicion or probable cause existed for
                           the seizures iii the first place.

                           d) The subsequent releae of  hundreds of individuas from police
                           stations without placing charges againt them who were transported
                           from the scene fuer supports the conclusion that no reasonable
                           ~\Il)picion OT prohi:hle LaIL'\e exisl~ù til j usii ry the iniiial seizures on I.he
                           street.

                           e) Uetèndat police offcials failure and inability to provide
                           prosecutors with evidence of the elements of the charged offenses
                           resulting in the ultiate dismissal en masse of              the reckess c.onduc.t
                           charges lìiriher supplIL'i t1i~ conclusion that rin rt:a'iiiiiahle suspidmi or
                           probable cause existed to justify the initial seizes on the street.

                           f) The failure of actual aresting offcers to accurately sign arest
                           report and criminal complaits agaist arestees fuer supports the
                           conc1iision that no reasonable slispici.on or prob::bJ.e cause existed to
                          justif the initial seizes on the street. TIie falsifcations provide
                           eloquent testimony that the offces knew they were being order to
                           make false arests..

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                    Before EU arest can be made i: offcer must have probable cause to believe
         that a specific individual commtted or is about to commt a crime. Here, the
         Chicago Police Deparent had no probable cause to arest and no reaonable
         suspicion t.o detain eai:h of
                                                      the incii.virluH1s surrounded nn Chicago Avenue.
         Without giving an order to the crowd war the crowd suounded at Chicago
         A venue that if they did not disperse they would be areste, they could not arest or
         deta any given individua. This is supported by the fact that hundreds of
         individuals were released from the staon tht very sare night without being
         charged, that hundreds of arest report did not have the proper aresting offcer
         sign their arest reports Rod complaint'), and ihe LTirninal cases where charees were
        brought were dismissed by l:he Sl:ate=i: AI.tomey=s Ortce.

                   It is clear that the Chicago Policc Deparent did not provide any orders to
        the entie crowd on Chicago A venue, and they did not give mass orders to disperse
        or be arested. This is supported by the testimony of the Plaitifs and witnesses at
        the class certification hearing, the deposition testimony of Sharon Ambiell and
        Miçb.ad Galvin, amllhe 250 amr.viL~ of members of
                                                                                               tiie crowd that w"ere
        sWTouided at Chicago A venue on Marh 20, 2003. All these individuals testied
        or swore under oath they were not given an order to disperse. Th is fuer
        supported by the videos taen by witnesse and members of
                                                                    the Chicago Police
        Deparent that do not record a single order being given to the crowd on Chicago
        Avenue. This is fuer supported by the testiony of Superitendent Cline,
        Oirnmamler Grirlri, änd Deputy CliiefRisley that they heard no such orders given.
        they did not give such an order themselves, and they did not diect that any such 8n
        order bc given.

                  3) A reasonable law enforcement offcial would have concluded that the
       police lìneestablished to the west of
                                                  the crowd was suffcient t.o Dieet any
       legiliiratl goal ûfkeeping individuals off
                                                        Michigan Avenue.

                            a) The police line to the west of
                                                                               the crowd successfuly kept
                           individuals from marching on Michigan Avenue, as had a similar
                           police line at Oak Sueel.

                           b) No justification existed for setting up the police line to the
                                                                                        east of
                           the crowd and in tact the existence otthe eas line provided no
                           reasonable or identifiable alterntives to avoid Michigan Avenue, and

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                                 therefore madc it more diffcult to keep individuals off

                                 Avenue.                                                                  Michigan

                         See response get fort above at 1) for evidence supportng ths opinon.

"                        4) Defendant Chicago police offcial dispersed demonstrtors in an
                   improper maner an fiiiIcd to tae adequate, appropnate or reasonable steps to
                   assure that members of the crowd were aware tht police considered their conduct
                   ilegal and if they did not cease and desist they were subject to arest.

                                a) Rlja"miahl~ police practices and standards in this situation require
                                that each individual be wared that he or she is obstcting trafc or
                               committg some crimal offense prior to bcing seizd by police
                               offcials.

                               b) Reasonable police practices and standards in this situation require
                               that any dispersal order must be capable of bt:ing ht:anl by all those
                               present.

                               c) Reaonable police practices and stdards in ths situaton requie
                              suffcient time must be provided for dispersal.

                              d) Reasonable police practices and stadards would require at lea.;t an
                              atempt to communcate orders to the members of a crowd by
                              nmpJiíìed meas and convey directions to march back to the tederal
                              plaz via a parcular route.

                              e) Individual conversations with so-called It:.aders does not
                                                                                                           justif the
                              seizres of others within a crowd.


                             t) Herding passers by and non demonstrators within the detEued
                             group demonstrates the indiscrimate sweep that occured here.

                       See response set forth above at 2) for evideIlce supporting lhis upinion.

              Data or other Ioformation Considered by 'Witness in Forming Opinion

                      In add ition to my experie.ice, tring and expertse I considered the

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           following specifc inomiation provide to me:
                      (Listig everying sent though 9118/06 whether or not considered)
                      Vodak Thid Amended Comp1a.t (Curent and pendig complaint);
                      Trancript of Plaintiffs= testimony in Vodak CLass CerttÌcation Hearg;
                      VodaJ, Plendin~s summarzing the paries; respective positions subsequent to
                          Class Cerfication Heming (plaintis= Closing Argument & Reply,
                          Uefendants Post.Hearing Brief and Reply);
                     Chicago Police Deparent Sample 3/20/03 Arest Report (Female-Nora
                              McComiskey; Male-Brad Thomson);
                     CPD Case Supplementary Report concerning incident ofl/20!03 (CompJet.f.d
                          411103);
                    Deposition of Supcríntcndcnt Philp Clie. formerly Actig Deputy
                              ~uperintendent of investigative Services, taen in Vodol';
                    Deposition of      Eighteenth District Commander Joseph Griff, commander of
                              distrct in which arests were made on 3/20/031 taen in Vodak;
                    neposil.inn nrneplJl.y Chier John Risley, ltmner1y Firsl Disl.rlel. Commander,
                              commander of district where demonstration commence on 3120/03,
                              taen ~ Vodak;
                   Arcle, dated 4/1/03, from Render newspaper concerng events of3/20/03;
                   Report of James Pugel, dated May 31, 2005;
                   Police Tape 003949
                         Video Orrcer C. Melht:rl. #lS.'27 (Apprnximtidy 1 hour);
                   Police Tape 003950
                         Video Officer K. Willams #13590 (Approximately 40 minutes);
                   Collette Morrow Best Shots (Edited)(Approxitely I 0 miutes);
                   Chicago & Michigan tape
                         Video tape.d also by Collette Morrow (Approximately 55 minutes);
                   COIlmander James Maurer deposiuún transcript;
                   Chicago Police Genera Order 96-2 Mass Arest Procedures, effective date
                         November 2002;
                   Declaration of Anthony Bouza regarding LAPD;
                   Complait in Beal v. City of         Chicago) 04 C 2039;
                  Plaintiff Sharon Ambiell deposition trnscript;
                  Plaitiff       Eric Peters deposition trancript;
                  Class member Michael Galvan deposition transcript;
                  Complaint Register ifiSg535;
                  D.C..Draf Report on Metopolitan Police DeparmenD"s Policy and Practice


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                                             iii Handling Demonstrations;
                               Plaiitiffs; Requests for Admissions to Defendats;
                               Order grtig class certfication. Judge Virginia Kendall, dated 4/17/06;
                               Decision in          v. Ramsey, 434 F.3d 565 (D.C. Crr.2006);
                                                     Barham

                               Vodak Dcfendants Supplement to Expert Witness Disclosure. Pugel 715/06;
                               Chicago Sun-Times newspaper aricle, 6/20/03, VODAKCITY 020735;
                               Exhbit A to class ceification hearing in VodaJe Listg of and sample
                                    afdavits of   class m~.mbers and putative class members provided at the
                                    Clac;s Certification heaing.

                  Listing of          Other Cass In Which the Expert Witness has Testifed

                               Anthony V. Bouz may have testified at trial or deposition in the following
                  caes within the preceding four years:


                  2001 Braiidoli v. Mayoo~ IL
                               Nortern District of Hlinois. 99 C 61OU; setted, early 2002.

                           Rhonda J. Johnson R David J. Turek, Vill of
                                                                                      Cantu    ria, WI
                           Attorney Su~an M_ Holden, Marquette Avenue, Minneapolj~, MN; 61 2-JJ6-
                           4500; settled 2001.

                           Zick & Be~land J'. City of Maplewood, MN
                           Anomey John Borger, 612-:766-7501.

                 2002 Cline v. Costello, Clay COUflty, MN
                           Attorney           Nock       May, 80 South 8th Street, Mineapolis,.M; 612-338-1919.

                          lll.ikkalson v. lIfa/ander, at al. and Cit of Superior, WI
                          Any David Mallan, Duluth. MN. 218-722-4190.

                          Dave Raiiecafor DearUla Troia v. Schoo~ Superior, WI
                          Attorney William J. Schmtz 800 Marquette Avenue, Minneapolis, MN;
                          612-333-9754.

                 2003 Larson \1. A meric:an UV(~, et aL
                          Attorney Steven L. Kisch. 444 Cedar St.. St PauL,:M 55410.


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                          ILWU Local  10 v. Cit of Oak/ami, CA
                          Attorney Rachel Ledcrm, 558 Capp Street, San Franoisco, CA~ 415-282-
                          9300.

                          Jones v. Stoneking and Cass Coiintj7, MN
                          Civ. No. 02B4131 (JNE).

                          Sippel v. Cit of Red Wiiig, et aJ
                          Attorney David We~, 4200 County Toad 42 West, Sava~e, MN; 952-
                          894.6400.

                         Powe-TS, Fllhbrini v. RyriI, rl al and Sb"kiyIJu Ciiunty, CA
                         Attorney Tania Rose, 240 Stock1:on Street, San francisco, CA; 415-956-
                         1360.

                         Brame li. City o/Tacoma, J.4
                         Attrney Jil Haavig Stone, 1501 Market Street, Suite 300, Tacoma, WA;
                         253- 572- 5324.

               2004 Arndt v. Doe, elat and City of
                                                                is, MN
                                                              Min       neap   oJ

                         Attorney Pete Nickita, 301 4th Avenue, South, Mieapolis, MN; 612-339-
                         1453.

                        Anderson v. Doe, et at and Cifl of Millieapotis, MN
                        Attorney Pctcr Niekitas, 301 4 Avenue, ~outh, Mieapolis, MN; 612-339-
                         1453.

                        !viceroy, et nl, v. .MinnellPO(i') .P.D., id uL

                        Attorney Willam Goodman. 740 Droadway, New York City, NY; 212-353-
                        9587.

               2005 Lundherg, et oL t'. County of Hiimholdi:i ei aL
                        No. C97-3986-SI, Northern District of Gilíforna.

                        Bari, et aL v. Held, et aL
                        No. C-Y i _. i 057..hFL, Northern District of California.

                        Leeney v. Bird

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                                Attorney Tanya Rose 415/986-1338.

                               Rena Saicei et aL v. Minneapolis P.D., et aL
                               Attorney Danel Guerrero, i 616 Park Avenue, Sout MíeapoJis, MN;
                               612-339-9121.

                               Tlios. Mattiews v. Dulutli P.O. Wilsori
                               Attrny Mattew Bel;eske, 301 West i:l Street, Duluth, MN; 218-726-1175.

                               WashlJurn v. Fagen
                               San Frdridsco, CA; Attorney Dennis Cunningham 415-285-8091

                        2006 H ohley & Orange, etc v. Burget et al.
                             03 C 36'/8.

                              Evan~ v. City of Cn;,c.ogoJ et ala
                              04 C 3570

                              OIlins v. OJBrien, at aL
                              03 C 5798

: ' '\                        King
                              Attorney Ryan ViettlesoIl 612-333-9548

                        Modification of Opinion

                              Anthony V. Bouz reserves the rìght to modify these findings and opinions
                        as additional derails, evidence or materal become available to me or to supplement
                        these Iint1irigs amI opiriioris as appropriat$ .
                                                               ~                                              -"
                                                                  ANTONY _ BOUZA
                                                                  3810 Shedd l Aveuue South
                                                                  Minneapolis, :M 554 i 0

                    Date: September 21,2006



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